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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Kevin Cunningham, et al.
                                  Plaintiff,
v.                                                   Case No.: 1:21−cv−05368
                                                     Honorable Virginia M. Kendall
Roundy's Illinois, LLC
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 8, 2021:


         MINUTE entry before the Honorable Virginia M. Kendall. Briefing schedule set
as to Defendant's Motion to Sever [11]. Response due by 1/5/2022; Reply due by
1/19/2022. Teleconference Status hearing set for 3/9/2022 at 9:15 AM. Teleconference
Initial Status hearing set for 1/19/2022 stands. Mailed notice(lk, )




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